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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )              8:08CR479
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
ROBERT MORIMOTO,                                  )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion for an extension of time by defendant
Robert Morimoto (Morimoto) (Filing No. 38). Morimoto seeks an additional time in which
to file pretrial motions in accordance with the progression order (Filing No. 13). Morimoto
has filed an affidavit wherein he agrees to the motion and understands the additional time
will be excluded under the Speedy Trial Act (Filing No. 40) Upon consideration, the motion
will be granted.


       IT IS ORDERED:
       Defendant Morimoto's motion for an extension of time (Filing No. 38) is granted.
Morimoto is given until on or before February 19, 2009, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
January 12, 2009 (original motion deadline) and February 19, 2009, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B).
       DATED this 26th day of January, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
